         Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 1 of 29 PageID #:51


    FIL ED
      5/2018
      1/2
             . BRUTO    N
   THOMA.SDG
           IS T R IC T COURT
CLERK, U.S
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 2 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 3 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 4 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 5 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 6 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 7 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 8 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 9 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 10 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 11 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 12 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 13 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 14 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 15 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 16 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 17 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 18 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 19 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 20 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 21 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 22 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 23 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 24 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 25 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 26 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 27 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 28 of 29 PageID #:51
Case: 1:17-cv-08946 Document #: 9 Filed: 01/25/18 Page 29 of 29 PageID #:51
